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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

MARCIA R. MEOLI, Trustee for                  §
RENAE HOEBBEL                                 §       Case No.
                                              §
         Plaintiff                            §
                                              §
-v-                                           §
                                              §       COMPLAINT
EGS FINANCIAL CARE INC., fka                  §
NCO FINANCIAL SYSTEMS, INC.                   §       JURY TRIAL DEMANDED
                                              §
         Defendant.                           §

                                        INTRODUCTION

      1. NCO Financial Systems, Inc. (“Defendant”) made more than two hundred and thirty
         (230) telephone calls to Mrs. Hoebbel’s cellular telephone in approximately three (3)
         months, in an attempt to collect a debt.

      2. The calls occurred at all hours of the day and night. The calls came while Mrs. Hoebbel
         was at work teaching children, and when she was at home, caring for her family.

      3. Mrs. Hoebbel had retained the services of Freedom Debt Relief to help repay her
         creditors. As part of the program, Mrs. Hoebbel sent letters to her creditors requesting
         that they cease contacting her.

      4. Upon information and belief, Defendant or its assignor, received a letter instructing them
         to cease contacting Mrs. Hoebbel.

      5. When Mrs. Hoebbel answered her telephone, she repeatedly asked Defendant to stop
         contacting her.

      6. Despite Mrs. Hoebbel’s reasonable requests that Defendant cease calling her, Defendant
         continued its campaign of harassment.

      7. Defendant’s unlawful conduct has cause Mrs. Hoebbel severe and substantial emotional
         distress, including physical and emotional harm, including but not limited to: anxiety,
         stress, headaches, pain, sleeping issues, anger, embarrassment, humiliation, depression,
         family strife, marital problems, utter frustration, shame, lack of concentration, amongst
         other injuries and negative emotions.

      8. Defendant’s aggressive and unlawful course of conduct forced Mrs. Hoebbel into the
         United States Bankruptcy Court so that she could finally obtain relief from Defendant’s
         harassment.
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9. Defendant’s conduct is part of a business plan and practice of unlawful collection abuse
   including repeated and intrusive telephone calls, and failing to cease calling after being
   requested to do so.

10. On July 16, 2013, Defendant and the Federal Trade Commission (“FTC”) entered into an
    agreement that Defendant would stop harassing consumers with illegal debt collection
    calls, and pay a $3.2 Million civil penalty – the largest ever obtained by the FTC against
    a third-party debt collector. (Exhibit 1).

11. In its complaint, the FTC alleged that Defendant violated the law by using such tactics as
    calling consumers multiple times per day, calling even after being asked to stop, calling
    early in the morning or late at night, calling consumer’s workplaces despite knowing that
    the employers prohibited such calls, and leaving phone messages that disclosed the
    debtor’s name, and the existence of the debt, to third parties.

12. Under the consent agreement, Defendant agreed to cease communications if a consumer
    has requested no further contact, or if a consumer refuses to pay a debt.

13. Despite agreeing to cease such practices, Defendant continues to engage in abusive and
    unlawful collection practices.

14. Pursuant to the Fair Debt Collection Act, 15 U.S.C. §1692 (“FDCPA”): (a) There is
    abundant evidence of the use of abusive, deceptive, and unfair debt collection practices
    by many debt collectors. Abusive debt collection practices contribute to the number of
    personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of
    individual privacy.

                            JURISDICTION AND VENUE

1. The Trustee is the duly appointed and acting Trustee with respect to Renae and Kenneth
   Hoebbel, whose bankruptcy petition was filed on November 23, 2016.

2. When Mrs. Hoebbel filed an order for relief under the Bankruptcy Code, her estate
   became the owner of all of her property, including tort claims that accrued before she
   filed her bankruptcy petition. See 11 U.S.C. §541(a)(1) (defining the estate as “all legal or
   equitable interests of the debtor in property” when she files for bankruptcy.)

3. The Trustee sought permission from the United States Bankruptcy Court for the Western
   District of Michigan to pursue all claims on behalf of the debtor on April 14, 2017.

4. On October 3, 2017, Hon. James W. Boyd issued an order authorizing Jeffrey D. Mapes
   PLC to represent the estate in pursuit of its claims.
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5. Jurisdiction of this Court arises under 28 U.S.C. § 157(a) and (b) and 1334, 47 U.S.C. §
   227, and pursuant to 28 U.S.C. § 1367 for pendent state law claims, which are predicated
   upon the same facts and circumstances that give rise to the federal causes of action.

6. This action arises out of the Defendant’s repeated violations of the Telephone Consumer
   Protection Act (“TCPA”) 47 U.S.C. § 227 et seq., the Fair Debt Collection Practices Act
   (“FDCPA”) 15 U.S.C. § 1692 et. seq., the Michigan Occupational Code M.C.L. §339.901
   et. seq. (“MOC”).

7. Venue is proper in this district because Defendant transacts business here and places
   phone calls into this district, and Plaintiff lives in this District.

                                       PARTIES

8. Marcia R. Meoli, Trustee (“Trustee”) is the duly appointed and acting Trustee in this
   proceeding pursuant to 11 U.S.C. § 702(d). Accordingly, the Plaintiff is authorized and
   empowered to file, prosecute and/or settle all causes of actions in which the Debtors have
   an interest.

9. Mrs. Hoebbel is a natural person who resides in the City of Holland, County of Ottawa,
   State of Michigan. Mrs. Hoebbel is a “consumer” and “person” as the terms are defined
   and used in the FDCPA and TCPA. Mrs. Hoebbel is a “consumer,” “debtor” and
   “person” as the terms are defined and used in the MOC.

10. Mrs. Hoebbel is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
    1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.
    2014).

11. Defendant is a Pennsylvania corporation and is conducting business through its registered
    agent CSC-Lawyers Incorporating Service, 601 Abbott Rd., East Lansing MI, 48823.

12. Defendant uses interstate commerce and the mails in a business the principal purpose of
    which is the collection of debts. Defendant regularly attempts to collect, directly or
    indirectly, debts owed or due or asserted to be owed or due another.

13. Defendant is a “debt collector” as the term is defined and used in the FDCPA and the
    TCPA. Defendant maintains a valid license from the State of Michigan to collect
    consumer debts in Michigan. Defendant is a “collection agency” and “licensee” as those
    terms are defined and used in the MOC.

14. The debt is the subject matter of this complaint was incurred for personal, family, and
    household purposes and is a “debt” as the term is defined and used in the FDCPA and
    MOC.

15. Mrs. Hoebbel is the regular user and carrier of the cellular telephone number at issue,
    (616) XXX-0274.
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16. Mrs. Hoebbel was the “called party” during each phone call subject to this lawsuit.

17. Defendant intentionally harassed and abused Mrs. Hoebbel on numerous occasions by
    calling three to four times per day, and on back to back days, with such frequency as can
    reasonably be expected to harass.

18. Mrs. Hoebbel never provided Defendant, nor any of Defendant’s assignors with her
    telephone number.

19. Each call the Defendant made to Mrs. Hoebbel was made using an ATDS, which has the
    capacity to store or produce telephone numbers to be called, without human intervention,
    using a random or sequential number generator; and to dial such numbers as specified by
    47 U.S.C § 227(a)(1).

20. Between January 3, 2016 and March 23, 2016 Defendants placed at least two hundred
    and thirty four (234) calls to Mrs. Hoebbel’s cellular telephone using an ATDS. (Exhibit
    2).

21. Each call the Defendant made to the Mrs. Hoebbel’s cell phone was done so without the
    “express permission” of Mrs. Hoebbel.

22. Mrs. Hoebbel’s conversations with the Defendant demanding an end to the harassment
    were ignored.

23. Defendant has recorded at least one conversation with the Mrs. Hoebbel.

24. Defendant has recorded numerous conversations with the Mrs. Hoebbel.

25. Despite actual knowledge of their wrongdoing, the Defendant continued the campaign of
    abusive robocalls.

26. Since 2015, Defendant has been sued in federal court where the allegations include:
    calling an individual using an ATDS after the individual asked for the calls to stop.

27. By effectuating these unlawful phone calls, Defendants have caused Mrs. Hoebbel the
    very harm that Congress sought to prevent—namely, a "nuisance and invasion of
    privacy."

28. Defendant’s aggravating and annoying phone calls trespassed upon and interfered with
    Mrs. Hoebbel’s rights and interests in her cellular telephone and cellular telephone line,
    by intruding upon Mrs. Hoebbel’s seclusion.

29. Defendant’s phone calls harmed Mrs. Hoebbel by wasting her time.
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30. Moreover, "wireless customers are charged for incoming calls whether they pay in
    advance or after the minutes are used." In re: Rules Implementing the TCPA of 1991, 23
    FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Mrs. Hoebbel by depleting
    the battery life on her cellular telephone, and by using minutes allocated to Mrs. Hoebbel
    by her cellular telephone service provider.

31. Defendant’s corporate policy and procedures are structured as to continue to call
    individuals like Mrs. Hoebbel, despite these individuals revoking any consent the
    Defendant may have mistakenly believed it had.

32. Defendant’s, corporate policy and procedures provided no means for Mrs. Hoebbel to
    have her aforementioned cellular number removed from the call list.

33. Defendant has a corporate policy of using an ATDS or a prerecorded or artificial voice
    message to collect debts from individuals such as Mrs. Hoebbel for its financial benefit.

34. Defendant, has numerous other federal lawsuits pending against them alleging similar
    violations as stated in this complaint. The Defendant has been sued civilly in Federal
    Court 157 times since 2015 (Exhibit 3).

35. Mrs. Hoebbel expressly revoked any consent Defendant may have mistakenly believed it
    had for placement of telephone calls to Mrs. Hoebbel’s cellular telephone by the use of an
    ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of
    the calls.

36. Defendant never had Mrs. Hoebbel’s express consent for placement of telephone calls to
    her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or
    artificial voice.

37. None of Defendant’s telephone calls placed to Mrs. Hoebbel were for “emergency
    purposes” as specified in 47 U.S.C. §227(b)(1)(A).

38. Defendant violated the TCPA with respect to Mrs. Hoebbel.

39. Defendant willfully or knowingly violated the TCPA with respect to Mrs. Hoebbel.

40. Defendant violated the FDCPA with respect to Mrs. Hoebbel.

41. Defendant violated the MOC with respect to Mrs. Hoebbel.
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                         Count I – Telephone Consumer Protection Act

42. Defendant willfully violated the TCPA with respect to Mrs. Hoebbel each time they
    called her after she revoked her consent to being called by them using an ATDS or
    prerecorded voice.

43. Defendant knowingly violated the TCPA with respect to Mrs. Hoebbel, especially for
    each of the auto-dialer calls made to her cellular telephone after she revoked her consent
    to being called by them using an ATDS or pre-recorded voice.

44. Defendant repeatedly placed non-emergency telephone calls to the wireless telephone
    number of Mrs. Hoebbel using an automatic telephone dialing system or prerecorded or
    artificial voice without her prior express consent in violation of federal law, including 47
    U.S.C § 227(b)(1)(A)(iii).

45. As a result of Defendant’s illegal conduct, Mrs. Hoebbel suffered actual damages and,
    under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for
    each such violation of the TCPA.

46. Mrs. Hoebbel is also entitled to, and does, seek injunctive relief prohibiting Defendant,
    from violating the TCPA in the future.

               Count II – Violation of 15 U.S.C. § 1692d and MCL § 339.915(n)

47. Pursuant to 15 U.S.C. §1692d(5), a debt collector may not cause a telephone to ring
    repeatedly or continuously with intent to annoy, abuse, or harass any person at the called
    number.

48. MCL § 339.915(n) prohibits licensees from Using a harassing, oppressive, or abusive
    method to collect a debt, including causing a telephone to ring or engaging a person in
    telephone conversation repeatedly, continuously, or at unusual times or places which are
    known to be inconvenient to the debtor.

49. The majority of calls to Mrs. Hoebbel were either ignored by her or sent to voicemail.

50. Defendant placed an unreasonable amount of telephone calls to Mrs. Hoebbel with the
    intent to harass, annoy, abuse, and/or oppress her.

51. Defendant intentionally continued to contact Mrs. Hoebbel with the intent of annoying
    her enough that they could extract payment from her in violation of 15 U.S.C. §1692d(5)
    and MCL § 339.915(n).
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                         Count III – Violation of MCL § 339.915(q)

   52. Pursuant to MCL § 339.915(q) a licensee may not fail to implement a procedure designed
       to prevent a violation by an employee.

   53. Defendant’s multiple violations of the MOC, FDCPA, and TCPA are evidence that there
       were no procedures implemented by Defendant that would have prevented a violation by
       employees.

                                      TRIAL BY JURY

   54. Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues so
       triable. US Const. amend. 7. Fed.R.Civ.P. 38.

                                  PRAYER FOR RELIEF
Telephone Collection Practices Act

   55. Defendant has violated 47 U.S.C. §227(b)(1)(A)(iii) and 47 C.F.R. §64.1200 (a)(1)(iii) by
       using an automatic dialing system to make numerous calls to the cellular telephones of
       Mrs. Hoebbel without consent.

   56. Defendant’s actions alleged herein constitute numerous negligent violations of the TCPA,
       entitling Plaintiff to an award of $500.00 in statutory damages for each and every
       violation pursuant to 47 U.S.C. §227(b)(3)(B).

   57. Defendant’s actions alleged herein constitute numerous knowing and/or willful violations
       of the TCPA, entitling Plaintiff to an award of $1,500.00 in statutory damages for each
       and every violation pursuant to 47 U.S.C. §§227(b)(3)(B) and 227(b)(3)(C).

      Wherefore, Plaintiff seeks judgment against Defendant for:

              a) Statutory damages of $500.00 per call pursuant to 47 U.S.C. §227(b)(3)(B);

              b) Treble damages of $1,500.00 per call pursuant to 47 U.S.C. §§227(b)(3)(B)
                 and 227(b)(3)(C);

              c) An injunction prohibiting Defendant from contacting Plaintiff on her cellular
                 phone using an automated dialing system pursuant to 47 U.S.C.
                 §§227(b)(3)(a).

Fair Debt Collection Practices Act

   58. Defendant has violated the FDCPA. Defendant’s violations of the FDCPA include but are
       not limited to the following:
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             a. Defendant violated 15 U.S.C. §1692d.

      Wherefore, Plaintiff seeks judgment against defendant for:

         a) Actual damages pursuant to 15 U.S.C. §1692k(a)(1);

         b) Statutory damages pursuant to 15 U.S.C. §1692l(a)(2)(A);

         c) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k(a)(3); and

         d) Such further relief as the court deems just and equitable.

Michigan Occupational Code

      59. Defendant has violated the MOC. Defendant’s violations of the MOC include, but are
          not limited to the following:

             a. Defendant violated M.C.L. §339.915(n) by using a harassing, oppressive, or
                abusive method to collect a debt;

             b. Defendant violated M.C.L. §339.915(q) by failing to implement a procedure
                designed to prevent a violation by an employee; and

      Wherefore, Plaintiff seeks judgment against defendant for:

             a) Actual damages pursuant to M.C.L. §339.916(2);

             b) Treble the actual damages pursuant to M.C.L. §339.916(2);

             c) Statutory damages pursuant to M.C.L. §339.916(2);

             d) Reasonable attorney’s fees and court costs pursuant to M.C.L. §339.916(2);
                and

             e) Equitable relief pursuant to M.C.L. §339.916(2).

         Dated: January 27, 2018                  Respectfully submitted:

                                                  __/s/____________________________
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